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           Exhibit 1
                                                       New comment on "the fear thing"
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         Subject: New comment on "the fear thing"
         From: YouTube <noreply@youtube.com>
         Date: 5/4/2021, 6:52 PM
         To: "Geronimo's Bones" <geronimos-bones-1911@pages.plusgoogle.com>


               Youtube Logo

               Texas BBQ commented on your video

                              the fear thing


                           Texas BBQ
                           25 years ago my country fell under a satanic blood sacrifice spellbinding most to fear.
                           The stench of this fear has permeated into a generation enslaving their mind and
                           spirit. My wife is safe, I stand alone in a desert of the dead stretching to the horizon. I
                           call out to Yeshua, “what am I to do, Lord?” Yeshua replies, “this is what is to come”.
                           Brother, I have appreciated your thoughts over the past year and I’m glad the Spirit
                           moves you to leave these messages.


                           REPLY      MANAGE ALL COMMENTS

               If you no longer wish to receive emails about comments and replies, you can unsubscribe.

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